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       1                       UNITED STATES BANKRUPTCY COURT
       2                       EASTERN DISTRICT OF CALIFORNIA
       3
       4   In re:                          )
                                           )
       5   HUE KIEN DANG,                  )     Case No. 20-24166-C-7
                                           )
       6                       Debtor.     )
           ________________________________)
       7                                   )
           SUSAN K. SMITH,                 )     Adversary No. 21-02001-C
       8                                   )
                               Plaintiff, )
       9   v.                              )
                                           )
      10   BICHKHOA THI NGUYEN and BICHKHOA)
           THI NGUYEN, TRUSTEE OF THE      )
      11   BICHKOA NGUYEN 2017 TRUST,      )
                                           )
      12                       Defendants. )
           ________________________________)
      13
      14         MEMORANDUM DECISION ON MOTION FOR ENTRY OF DEFAULT JUDGMENT
      15           The default of Defendants Bichkhoa Thi Nguyen and Bichkhoa
      16   Thi Nguyen, Trustee of Bichkhoa Nguyen 2017 Trust, have been
      17   entered pursuant to Federal Rule of Civil Procedure 55, as
      18   incorporated by Federal Rule of Bankruptcy Procedure 7055.
      19           This court has carefully reviewed the record. The well-
      20   pleaded facts in the Amended Complaint are accepted as true. The
      21   relevant motion papers include the Motion for Default Judgment,
      22   Declaration, and Exhibits in support thereof (Docket ## 44-47),
      23   together with the Supplemental Declaration and Exhibits (Docket
      24   ## 62-63).
      25           Chapter 7 Debtor Hue Kien Dang filed his chapter 7 case
      26   No. 20-24166 on August 29, 2020. Plaintiff Susan Smith is the
      27   duly appointed chapter 7 trustee.
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       1         In his Petition, Debtor gives his address as 8700 Spring
       2   House Way, Elk Grove, California (“8700 Spring House Way”).
       3         The Default Judgment record establishes that Debtor
       4   transferred, on November 14, 2016, real property commonly known
       5   as 8700 Spring House Way, to Defendant Bichkhoa Thi Nguyen for no
       6   consideration. At that time, Bank of America and U.S. Bank were
       7   creditors of Debtor.
       8         Defendant Nguyen resides with Debtor at 8700 Spring House
       9   Way and is the mother of his children.
      10         The record further establishes that Defendant Nguyen on
      11   May 2, 2017, transferred her interest in 8700 Spring House Way to
      12   herself as trustee of the Bichkhoa Nguyen 2017 Trust for no
      13   consideration.
      14         The Default Judgment record further establishes that Debtor
      15   transferred $44,500.00 to Defendant Bichkhoa Thi Nguyen on or
      16   about June 12, 2020, as a gift for no consideration.
      17         The record further establishes that Nguyen deposited
      18   $49,774.38 with First American Title Company on January 21, 2021,
      19   in connection with a mortgage loan transaction with respect to
      20   8700 Spring House Way.
      21         This court is mindful that Debtor’s counsel in the parent
      22   chapter 7 case, Steele Lanphier, has represented to the court
      23   that Mr. Dang and Ms. Nguyen are actually married and has told
      24   the court that he would correct the petition and related filings
      25   accordingly. Despite having had months to make good on that
      26   representation, no amendments have been made. The Petition and
      27   Schedules continue to state that Mr. Dang is not married, aver
      28   that he has no interest in real estate, and that he has no co-

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       1   debtors. Nor in Schedule I and in the Statement of Current
       2   Monthly Income does Mr. Dang disclose, as required, income of
       3   Ms. Nguyen as non-filing spouse. It is further noted that Steele
       4   Lanphier was also counsel to Bichkhoa Thi Nguyen in chapter 7
       5   case No. 10-21447 in this judicial district, in which there is no
       6   mention to the existence of Mr. Dang. Nothing having been done by
       7   Steele Lanphier to correct the bankruptcy case record with
       8   appropriate amendments, there is no reason to defer ruling on the
       9   question of default judgment.
      10
      11                                    I
      12         The Amended Complaint seeks to avoid the November 14, 2016,
                        8700
      13   transfer of 8799 Spring House Way pursuant to California Civil
      14   Code § 3439.04(a)(1), as incorporated under the trustee’s “strong
      15   arm” powers under 11 U.S.C. § 544, on the theory that the
      16   transfer was made with actual intent to hinder, or delay, or
      17   defraud a creditor.
      18         Proof of the requisite “actual intent” under Civil Code
      19   § 3439.04(a)(1) must, pursuant to § 3439.04(c), be by
      20   preponderance of evidence, with reference to factors set forth at
      21   § 3439.04(b). Any of the factors may be dispositive as
      22   § 3439.04(b) does not create a counting or numerosity exercise.
      23   Moreover, there need not be proof of actual intent to defraud;
      24   rather, proof of actual intent to hinder or to delay creditors
      25   suffices for purposes of § 3439.04(a)(1).
      26         Three of the Civil Code § 3439.04(b) factors pertain
      27   directly to the uncontroverted default judgment evidence in this
      28   case: (1) the transfer of 8700 Spring House Way was to the

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       1   insider mother of the transferor’s children, § 3439.04(b)(1); (2)
       2   the debtor transferor retained possession or control of the
       3   property, where he continues to reside with the transferee as a
       4   family unit, § 3439.04(b)(2); and (3) the value of the
       5   consideration received (none) was not reasonably equivalent to
       6   the value of the property transferred, § 3439.04(b)(8). This
       7   constellation of factors warrants the conclusion that Plaintiff
       8   has carried the burden of presenting a preponderance of evidence
       9   for purposes of § 3439.04(c).
      10         Accordingly, default judgment will be entered avoiding the
      11   transfer by Hue Kien Dang to Bichkhoa Thi Nguyen of real property
      12   commonly known as 8700 Spring House Way, Elk Grove, California on
      13   November 14, 2016, pursuant to Civil Code § 3439.04(a)(1), as
      14   incorporated by 11 U.S.C. § 544.
      15
      16                                      II
      17         The Amended Complaint also seeks to avoid the transfer by
      18   Hue Kien Dang of $44,500.00 to Bichkhoa Thi Nguyen on or about
      19   June 12, 2020, under 11 U.S.C. § 548(a).
      20         Debtor has stated under penalty of perjury in his Amended
      21   Statement of Financial Affairs that in June 2020, two months
      22   before filing his chapter 7 case, he made a gift of $44,500.00 to
      23   Bichkhoa Nguyen, the mother of his children, the source of which
      24   was a loan from a so-called § 401(k) account. Amended Statement
      25   of Financial Affairs, #13.
      26         The $44,500.00 gift was for no consideration using funds
      27   borrowed from a § 401(k) account. Debtor’s Schedules reflect that
      28   his financial situation at that time, which was two months before

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       1   filing his chapter 7 case, was such that the sum of his debts was
       2   then greater than all of his property at fair valuation exclusive
       3   of the $44,500.00 transferred within the meaning of 11 U.S.C.
       4   § 101(32)(A). Hence, the transfer will be avoided under § 548(a).
       5         Although the record supports the conclusion that the gift
       6   was in the amount of $44,500.00, the Amended Complaint asserts
       7   and demands only $44,000.00. A default judgment must not exceed
       8   in amount what is demanded in the pleadings. Fed. R. Civ. P.
       9   54(c), as incorporated by Fed. R. Bankr. P. 7054(a). Since the
      10   Amended Complaint seeks only $44,000.00, that sum is the upper
      11   limit on a default judgment.
      12         Accordingly, default judgment will be entered avoiding the
      13   transfer in the amount of $44,000.00.
      14
      15                                   III
      16         The Amended Complaint also seeks to recover the property
      17   transferred pursuant to 11 U.S.C. § 550.
      18         As to 8700 Spring House Way the default judgment will avoid
      19   the transfer for the benefit of the estate pursuant to 11 U.S.C.
      20   § 550(a) and declare that the Plaintiff-Trustee’s rights are
      21   superior to the immediate transferee, Defendant Bichkhoa Thi
      22   Nguyen, and to the mediate transferee, Defendant Bichkhoa Thi
      23   Nguyen as trustee of the Bichkhoa Nguyen 2017 Trust.
      24         As to the $44,000.00 gift, the default judgment will declare
      25   that Plaintiff-Trustee is, pursuant to 11 U.S.C. § 550(a),
      26   entitled to the value of the $44,000.00 gift to be paid by the
      27   immediate transferee, Bichkhoa Thi Nguyen.
      28

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       1         The Motion for Entry of Default Judgment is GRANTED. An
       2   appropriate default judgment shall be entered as a separate
       3   document.
       4
       5          November 12, 2021

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       1                    INSTRUCTIONS TO CLERK OF COURT
                                     SERVICE LIST
       2
                    The Clerk of Court is instructed to send the attached
       3   document, via the BNC, to the following parties:
       4   J. Russell Cunningham
           1830 15th St
       5   Sacramento, CA 95811
       6   Susan Smith
           2701 Del Paso Road, Suite 130-PMB 399
       7   Sacramento, CA 95835
       8   Bichkhoa Thi Nguyen
           8700 Spring House Way
       9   Elk Grove, CA 95624-1231
      10   Steele Lanphier
           1860 Howe Ave., Suite 330
      11   Sacramento, CA 95825
      12   Hue Kien Dang
           8700 Spring House Way
      13   Elk Grove, CA 95624-1231
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